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 6   Attorneys for Defendants
     MERGERMARKET (U.S.) LTD. and
 7   ION TRADING, INC.
 8

 9                       IN THE UNITED STATES DISTRICT COURT
10                       THE NORTHERN DISTRICT OF CALIFORNIA
11

12   RICKY L. APPIN,                              Case No. 1:23:cv-03372-HSG
13                         Plaintiff,             DECLARATION OF COLM CASEY IN
                                                  SUPPORT OF SPECIALLY-APPEARING
14         vs.                                    DEFENDANT ION TRADING, INC.’S
                                                  MOTION TO DISMISS PLAINTIFF’S
15   MERGERMARKET (U.S.) LTD., a New York         COMPLAINT FOR LACK OF
     Corporation, ION TRADING, INC., a New York   PERSONAL JURISDICTION
16   Corporation, ACURIS INC., a Delaware
     Corporation, and DOES 110,                   [Fed. R. Civ. Proc. 12(b)(2)]
17
                           Defendants.
18                                                Date:      November 9, 2023
                                                  Time:      2:00 p.m.
19                                                Courtroom: 2 (4th Floor)
20                                                Assigned to Hon. Haywood S. Gilliam
21                                                State Court Action Filed: April 7, 2023
                                                  Removed to Federal Court: July 6, 2023
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     DECLARATION OF COLM CASEY ISO MOTION TO DISMISS
     4861-1181-8104v.1 0122151-000001
 1          I, Colm Casey, hereby declare and state as follows:

 2          1.      I am General Counsel of the ION group of companies (“ION Group”), a trading

 3   name for a group of affiliated entities and have been since July 2023. Immediately prior to that, I

 4   was divisional General Counsel of ION Corporates, since 2016, and I have been employed by the

 5   ION Group since 2011. I submit this Declaration in support of ION Trading’s Motion to

 6   Dismiss. I have personal knowledge of the facts set forth in this declaration, and if called as a

 7   witness, I could and would testify to the truth of these facts. I have reviewed the Complaint filed

 8   by Plaintiff Ricky Appin.

 9          2.      ION Trading is a member of the ION Markets division of the ION Group which is

10   a leading global provider of trade pricing, trade execution, trade processing and workflow

11   automation for equities, fixed income, forex trading, cleared derivatives, secured funding, and

12   asset management.

13          3.      ION Trading is incorporated in the State of Illinois and headquartered in the State

14   of New York, with its primary place of business located at 1345 Avenue of the Americas, New

15   York, NY 10105.

16          4.      ION Trading is not registered to do business in California, and it does not do

17   business in California. It does not have any offices in California. It owns no property in

18   California, has no bank accounts in California, and does not pay corporate California taxes. It

19   serves no clients or customers in California. It does not have any officers, managers, or

20   executives residing in California. It sells no products in California. It does not have a website in

21   its own right, including one directed to California. ION Trading does not direct any corporate

22   activities at California, control any corporate activities from California, or coordinate any

23   corporate activities from California.

24          5.      A majority of ION Trading’s employees are located in Illinois, New York, or

25   Pennsylvania. ION Trading employs approximately 107 employees in total. It is registered to do

26   business in four states: New York, New Jersey, North Carolina, and Vermont.

27          6.      Only one ION Trading employee resides in California. The employee did not seek

28   ION Trading’s approval to relocate from Horsham, Pennsylvania, to California before doing so.
                                                       1                            DAVIS WRIGHT TREMAINE LLP
                                                                                       865 S. FIGUEROA ST, SUITE 2400
     DECLARATION OF COLM CASEY ISO MOTION TO DISMISS                                LOS ANGELES, CALIFORNIA 90017-2566
                                                                                                 (213) 633-6800
     Case No. 1:23:cv-03372-HSG                                                                Fax: (213) 633-6899
     4861-1181-8104v.1 0122151-000001
 1   The employee works entirely remote from California. He does not go into a physical office.

 2   None of the activities the employee engages in on behalf of ION Trading overlap with Ms.

 3   Appin’s allegations in the Complaint. The employee is a Software Engineer for the Markets

 4   division.

 5          7.      At all times, Mergermarket (U.S.) Ltd. (“Mergermarket”) employed Ms. Appin.

 6   Ms. Appin was never employed by ION Trading. Ms. Appin never received a paycheck from

 7   ION Trading. At all times, she was paid by Mergermarket and her work was directed towards the

 8   operations of Mergermarket in North America.

 9          8.      While Mergermarket and ION Trading are part of ION Group’s companies, they

10   are unrelated operating entities segmented between divisions of the ION Group. ION Trading

11   forms part of the ION Markets division and Mergermarket forms part of the ION Analytics

12   division. These divisions operate distinct businesses and serve a different portfolio of clientele.

13   They both have a separate lender group, have segmented capital structures and registered trading

14   securities and any business between the divisions is done at arm’s length.

15          9.      Mergermarket is a wholly-owned subsidiary of Mergermarket USA, Inc. At no

16   point did ION Trading acquire Mergermarket. At no point has ION Trading owned

17   Mergermarket, either wholly or in part. At no point did ION Trading have any role in the

18   acquisition and/or merger of Mergermarket.

19          10.     Acuris Inc. (“Acuris”) is not a wholly owned subsidiary of ION Trading. At no

20   point has ION Trading owned Acuris, either wholly or in part.

21          I declare under penalty of perjury under the laws of the United States and the State of

22   California that the foregoing is true and correct.

23
            Executed on August 17, 2023 at Galway, Ireland.
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25
                                                                    Colm Casey
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                                                          2                         DAVIS WRIGHT TREMAINE LLP
                                                                                      865 S. FIGUEROA ST, SUITE 2400
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